                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Mish International Monetary Inc.
                                          Plaintiff,
v.                                                          Case No.: 1:20−cv−04577
                                                            Honorable Manish S. Shah
Vega Capital London, Ltd., et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, January 27, 2023:


        MINUTE entry before the Honorable Manish S. Shah: Defendants' motion to
bifurcate class certification and merits discovery [198] is denied, with the caveat that
class−certification discovery will necessarily be prioritized to comply with this scheduling
order. The parties may issue written discovery on 1/31/23. All fact discovery, including
any foreign discovery, must be noticed in time for completion by 12/30/24. Plaintiff's
motion for class certification, including any supporting expert reports, is due 1/22/24.
Defendants' (joint) opposition to class certification, including any supporting expert
reports, is due 3/4/24. Plaintiff's reply along with rebuttal expert reports is due 4/8/24. The
court expects the parties to confer on a class−certification expert discovery and deposition
protocol. If the parties cannot agree, the court will impose a protocol by 10/30/23. The
court will set deadlines for amendment of the pleadings, merits expert discovery, and
dispositive motions when the parties get closer to completing fact discovery. An agreed
proposed confidentiality order may be submitted to
proposed_order_shah@ilnd.uscourts.gov. The parties shall file a joint status report
describing discovery accomplished, any disputes needing court intervention, and the
witnesses to be deposed (and on what timetable) on 7/12/23. The parties may contact the
courtroom deputy to schedule a status conference with the court and to request court
assistance on any discovery issues. Notices mailed. (psm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
